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Case 3:23-cv-03461-JCS Document 4-1 Filed 07/17/23 Page 1of 7

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Attorneys for Plaintiff Courtney McMillian

UNITED STATES DISTRICT COURT
DISTRICT OF NORTHERN CALIFORNIA

COURTNEY MCMILLIAN Case No, 3:23-cv-03461-JCS

Plaintiff,
DECLARATION OF KATE MUETING
v. IN SUPPORT OF PLAINTIFF'S
MOTION TO REMOVE APPENDIX 1
X CORP., f/k/a/ TWITTER, INC., X FROM THE PUBLIC DOCKETAND
HOLDINGS, ELON MUSK, Does, FILE [IT PROVISIONALLY UNDER
SEAL
Defendants.

 

 

Case No. 3:23-cv-03461-JCS

 

 

DECLARATION OF KATE MUETING IN SUPPORT OF PLAINTIFF’S MOTION TO REMOVE
APPENDIX 1 FROM THE PUBLIC DOCKET AND FILE IT PROVISIONALLY UNDER SEAL

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Case 3:23-cv-03461-JCS Document 4-1 Filed 07/17/23 Page 2 of 7

I, Kate Mueting, declare as follows:

l. I am an attorney licensed to practice law in the District of Columbia and am
employed by the law firm Sanford Heisler Sharp, LI-P. I am the attorney of record for the
Plaintiff in the above-captioned case.

2. I have attached to this motion a true and correct copy of email correspondence
between myself and Counsel for Defendant X Corp. between July 13, 2023 and July 15,
2013, and I hereby attest to that copy’s authenticity.

3. I attest that at the time of signing this declaration, Defendant’s counsel has not sent
any subsequent correspondence or provided further clarification of its arguments or
position.

4, I declare under penalty of perjury that the foregoing is true and correct. Executed

this 17th day of July, 2023 in Washington, District of Columbia.

DATED: July 17, 2023 Respectfully submitted,

By: /s/ Kate Mueting
Kate Mueting (D.C. Bar No. 988177)

(pro hac vice application forthcoming)
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Case No. 3:23-cv-03461-JCS

DECLARATION OF KATE MUETING IN SUPPORT OF PLAINTIFF’S MOTION TO REMOVE
APPENDIX 1 FROM THE PUBLIC DOCKET AND FILE IT PROVISIONALLY UNDER SEAL

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Exhibit A
Case 3:23-cv-03461-JCS Document 4-1 Filed 07/17/23 Page 4 of 7

From: Hill, Melissa 2.

To: Kate Mueting

Ce: Charles Field: Christopher Qwens; Glenn, Abbey M.; McMahan, Sean
Subject: RE; McMillian / Twitter

Date: Saturday, July 15, 2023 3:11:49 PM

Attachments: ~WRDGOO0.jpg

 

 

 

EXTERNAL EMALL

Kate,

The document in question was prepared and maintained by Twitter in a privileged capacity. The fact
that your client had access to it in her role at the company does not change that fact. | cannot
provide you with further explanation of its privileged status without revealing additional privileged
information or attorney work product, something | am unwilling to do, particularly given the cavalier
approach your firm is agparently taking to such protections.

Your proposed appreach of moving for provisional sealing is not the approoriate path in this
circumstance, per the local rules. Nor does it ensure prompt removal from the public record, which
is what the appropriate method is designed to ensure. Your continued refusal to follow the local
rules is concerning.

As [ said, if the appropriate application is net made by 9 am PST Moncay morning, we will take all
appropriate next steps, including to seek any fees associated with having to make such a motion,
and reserve all rights.

Thank you.

Melissa D. Hill

Morgan, Lewis & Bockius LLP

101 Park Avenue | New York, NY 10178-0060

Direct: +1.212.309.6318 | Main: +1.212.309.6000 | Fax: +1.212.309.6001 | Mobile:

melissa. hill@morganlewis.com | www.morganlewis.com
Assistant:

From: Kate Mueting <KMueting@sanfordheisier.com>
Sent: Saturday, July 15, 2023 7:18 AM

To: Hill, Melissa D. <melissa.hill@morganlewis.com>
Cc: Charles Field <cfield@sanfordheisler.com>; Christopher Owens <cowens@sanfordheisler.com>;
Gienn, Abbey M. <abbey.glenn@morganlewis.com>; McMahan, Sean
<sean.mcmahan@morganlewis.com>

Subject: Re: McMillian / Twitter

 

[EXTERNAL EMAIL]
Melissa,

We are considering your letter and wanted to follow up on a couple of things in the meantime.
Case 3:23-cv-03461-JCS Document 4-1 Filed 07/17/23 Page 5of 7

| wrote to Abbey on Thursday that at this point our understanding is that the appendix is not
privileged, but we would be happy to consider any additional information you are able to share.
Stamping the document privileged does not make it so, but please do let us know if you have any
other indication that the document is privileged.

We would also like to hear your thoughts on our suggestion below that you file an unopposed
motion to seal the appendix provisionally. If the appendix is filed under seal it would be removed
from the public docket until the court rules on this issue. Your filing the motion may make more
sense given that you understand the document to be privileged and have the burden to establish
that it is.

if you are able to give us any insight into these questions as we consider your letter, please fet us
know,

Best,
Kate

Kate Mueting (she/her)

Firm Administrative Partner and Discrimination and Harassment Practice Group Co-Chair, big
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DIRECT: 202-499-5206 | MAIN: 202-499-5200

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Baltimore
Nashville

 

 

 

 

 

 

 

San Diego

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On Jul 14, 2023, at 6:58 PM, Hill, Melissa D. <melissa.hill@meorganlewis.com> wrote:

 

——_ EXTERNAL EMAIL

Counsel,
Case 3:23-cv-03461-JCS Document 4-1 Filed 07/17/23 Page 6 of 7

As we explained yesterday, the document you filed as Appendix 1 to Plaintiff Courtney
McMillan’s complaint is privileged and confidential. We request that you take
immediate action to remove the document from the public docket. Under local rules,
the procedure for doing so is located here (Correcting E-Filing Mistakes | United States
District Court, Northera District of California (uscourts.gov) and you should proceed as

follows:

1. Email iDocketing@cand.uscourts.gov) with the case number, docket
number and a very brief description of what went wrong (that the document is
privileged/confidential and should not have been filed} and mark the message
“urgent.”

2. Call the ECF HelpDesk at 866-638-7829 to request expedited handling.

3. File a “Motion to Remove Incorrectly Filed Document” as soon as possible. If
the motion is granted, the ECF Helpdesk will permanently remove the document
from ECF.

We have prepared a draft motion for you to file to expedite this orocess. See the
attached word document.

Finally, we request that you destroy or return all copies of the document. See the
attached letter.

This matter is urgent. Please contact me if you have any questions or wouid like to
discuss.

Thank you.

Melissa D. Hill

Morgan, Lewis & Bockius LLP

101 Park Avenue | New York, NY 10178-0060

Direct: +1.212.309.6318 | Main: +1.212.309.6000 [ Fax: +1.212.309.6001 | Mobile:

  
 

  

melissa hill@morganiewis.com | www.morganlewis.com
Assistant:

From: Kate Mueting <KMueting@sanfordheisler.com>

Sent: Thursday, July 13, 2023 4:46:44 PM

To: abbey, slenn@morganlewis.com <abbey.glenn@morganlewis.com>
Cc: Charles Field <cfield@sanfordheisler.com>; Christopher Gwens
<cowens@santordheisler.com>

Subject: McMillian / Twitter

[EXTERNAL EMAIL]
Abbey,

Thank you for the call earlier today. It was nice meeting you, and | look forward to working with you
Case 3:23-cv-03461-JCS Document 4-1 Filed 07/17/23 Page 7 of 7

on this matter.

At this point our understanding is that the appendix is not privileged, but we would be happy ta
consider any additional information you are able to share.

And in the spirit of good faith and compromise, we would not abject to a motion to file the appendix
provisionally under seal so that the court can rule on this issue. If you do end up filing a motion,
please note that Plaintiff anticipates opposing permanent sealing but does not object to your
request to seal the document while the court considers this issue.

Please let me know if you would like to discuss further.

Best,
Kate

Kate Mueting (she/her)

Firm Administrative Partner and Discrimination and Harassment Practice Group Co-
Chair, bio

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